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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA,

MJ-09-54
Plaintiff,
Order Of Dismissal
Vs. With Prejudice
SAMUEL JACKSON
LINDSAY-BROWN,
Defendant.

Leave of Court is granted for the filing of the foregoing dismissal With
prejudice The Court makes no judgment as to merit or Wisdom of this dismissal.
DATEDthiS §'Wl day ofMarch, 2009.

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lCJyr_ithia Imbrogno_ (/
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Order Of Dismissal With Prejudice - 1

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